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                                                                                 2022 Jun-14 PM 01:32
                                                                                 U.S. DISTRICT COURT
                                                                                     N.D. OF ALABAMA


               IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                        SOUTHERN DIVISION

FARRELL STEVEN SUTTON,                 )
                                       )
      Plaintiff,                       )
                                       )
      v.                               )     Case Number: 2:19-cv-330-MHH
                                       )     JOINT
DIRECTV, LLC,                          )
                                       )
      Defendant.                       )
                                       )

    JOINT MOTION TO CONTINUE THE PRETRIAL CONFERENCE
              AND PROPOSED PRETRIAL ORDER

      Plaintiff, Farrell Steven Sutton (“Plaintiff”), and Defendant, DIRECTV, LLC

(“Defendant”), move this Court for a continuance of the Proposed Pretrial Order

deadline, which is currently due to be filed by June 30, 2022, and the Pretrial

Conference in this case, which is set on July 6, 2022. In support of this motion, the

Parties submit the following:

      1.     Both Parties consent to this requested continuance.

      2.     Currently, Plaintiff’s counsel must submit a Proposed Pretrial Order to

the Court by June 30, 2022. The Pretrial Conference in this matter is scheduled

approximately one week later, on July 6, 2022. See Order Regarding Pretrial

Conference. (Doc 32).
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      3.     The Parties have been diligently working to schedule a mediation in

this matter; however, due to various scheduling conflicts including trial settings, the

Parties have not been able to do so. Mediation was originally set on June 14, 2022,

but the mediator had a conflict and the date had to be rescheduled. Mediation is

currently set for July 27, 2022, which is the earliest date all participants are available.

      4.     The Parties respectfully request the rescheduling of the Proposed

Pretrial Order deadline and the Pretrial Conference so that they may engage in the

settlement negotiations without incurring additional expenses and costs.

      5.     Continuing the Proposed Pretrial Order deadline and the Pretrial

Conference until a date after the mediation will not prejudice any Party and will

promote efficiency and the possible resolution of this matter.

      Accordingly, for the reasons stated herein, the Parties respectfully request this

Court to reschedule the Proposed Pretrial Order deadline and the Pretrial Conference

for a date following the mediation.

                                  Consent Statement:

      Defendant’s counsel has permission to file this Joint Motion to Continue on

behalf of Plaintiff’s counsel.

      Respectfully submitted this 14th day of June, 2022.

                                         s/ Stephanie H. Mays
                                         Attorney for Defendant
                                         Stephanie H. Mays
                                         Maynard Cooper & Gale PC
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                         CERTIFICATE OF SERVICE

      I hereby certify that a copy of the foregoing has been served upon all attorneys

of record in this matter through the Court’s electronic filing/electronic case

management system and/or by U.S. Mail on this 14th day of June, 2022.



                                              /s/ Stephanie H. Mays
                                              Of Counsel

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